
PER CURIAM.
Finding that the trial court abused its discretion in failing to grant a continuance requested by counsel for the purpose of filing appropriate pleadings following the death of one of the plaintiffs, and in dismissing for lack of prosecution pending actions for personal injury and for wrongful death, we reverse and remand. See Rountree v. Rountree, 72 So.2d 794 (Fla.1954); Crown Trading Co. v. Systems for Security, Inc., 400 So.2d 110 (Fla. 3d DCA 1981); §§ 46.021, 734.101, Fla.Stat. (1977); Fla.R.Civ.P. 1.260(a)(1), 1.440.
Reversed and remanded.
